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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                         Plaintiff,                                               8:16CR231

        vs.
                                                                                   ORDER
KEVIN PADILLA-OLMEDO,

                         Defendant.


         This matter is before the court on defendant's Motion to Continue Trial and Extend Pretrial Motions
Deadlines [57]. For good cause shown, I find that the motion should be granted. The defendant will be given
an approximate 2-week extension. Pretrial Motions shall be filed by March 10, 2017.


         IT IS ORDERED:
         1.      Defendant's Motion to Continue Trial and Extend Pretrial Motions Deadlines [57] is granted.
Pretrial motions shall be filed on or before March 10, 2017.
         2.      Defendant is ordered to file the affidavit required by Rule 16(c), Fed. R. Cr. P. and NE. Crim.
R. 12.1 forthwith.
         3.      The trial scheduled on March 6, 2017 is canceled and will be reschedule by further order of
the court.
         4.      The ends of justice have been served by granting such motion and outweigh the interests of
the public and the defendant in a speedy trial. The additional time arising as a result of the granting of the
motion, i.e., the time between February 24, 2017 and March 10, 2017, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason defendant's counsel required
additional time to adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(8)(A) & (B).




         Dated this 28th day of February, 2017.

                                                               BY THE COURT:

                                                               s/ Susan M. Bazis
                                                               United States Magistrate Judge
